                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI


UNITED STATES OF AMERICA            )
                                    )
       Plaintiff,                   )               Case No. 2:22-cv-04027-MDH
                                    )
       v.                           )
                                    )
JOHN HUGO EICKHOFF, JR.,            )
RHONDA KAYE EICKHOFF,               )
HOFFMAN ASSOCIATES, LLC,            )
ARIC ELLIOT SCHREINER,              )
COLUMBIA CPA GROUP LLC,             )
JOHN WILLIAM GRAY II, and           )
DAMON THOMAS EISMA, individually )
and d/b/a DAMON T. EISMA            )
ATTORNEY AT LAW,                    )
                                    )
       Defendants.                  )
___________________________________ )

                   CERTIFICATE OF SERVICE OF UNITED STATES’
                     NOTICE OF SUBPOENAS FOR DOCUMENTS

       IT IS HEREBY CERTIFIED that on the 31st day of August 2022, the United States

served notice of non-party document subpoenas (including copies of each subpoena) for service

by the United States to Sandra Clingan, Jack Kasbergen, Glenn Kleeman, Roger Kleeman, David

Moore, Richard Rogers, Thomas Skattum, Thomas Steffl, Joyce Stocking, and Ronald Stocking

by electronic mail to counsel for Defendants, who consented to service by electronic mail:

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Dated: August 31, 2022                          Respectfully submitted,

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                                                DAVID A. HUBBERT
                                                Deputy Assistant Attorney General

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